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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                                                                    02&o-as} mu/fruu
  UNITED STATES OF AMERICA.                                   INDICTMENT
                       Plaintiff,                             18 U.S.C. S 2
                                                              18 u.s.c. s 2101
        v.

 IVAN HARRISON HUNTER.

                       Defendant:

       THE UNITED STATES GRAND JURY CHARGES THAT:

                                        COUNT      1
                                          (Riot)

       That on or about May 28, 2,020, in the State and District of Minnesota, the

defendant,

                             IVAN HARRISON HUNTER,
travelled in interstate commerce from Texas to Minneapolis, Minnesota, and used a

facility of interstate commerce, with intent to incite a riot, to organize, participate in,

and carry on a riot, and to aid or abet any person in inciting or participating in or

carrying bn a riot, and during the course of such travel or thereafter performed or

attempted to perform an overt act for the purposes specified above, including by not

limited to:

       a. on or about May 28, 2020, ryAN
                                         ,HARRISON HUNTER, discharged a
          firearm at the Third Precinct building of the Minneapolis Police
          Department located        at 8000 Minnehaha Avenue in              Minneapolis,

          Minnesota;
                                                                          SCANNED
                                                                           Nov04.d
                                                                        U.S. DISTRICT COURT MPLS
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United States v. Ivan Harrison Hunter

In violation of Title 18, United States Code, Sections   2l0l and2.



                                   A TRUE BILL




UNITED STATES ATTORNEY                        FOREPERSON
